      Case 6:22-cv-00356-ADA-DTG Document 20 Filed 06/17/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION
                                       WACO

HEALTH DISCOVERY CORPORATION                  §
                                              §
vs.                                           §     NO:   WA:22-CV-00356-ADA
                                              §
INTEL CORPORATION                             §

                  ORDER SETTING MOTIONS Hearing VIA ZOOM
                                Motion HEARING

       IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                         set for

MOTIONS HEARING VIA ZOOM for purposes of limited referral on Friday July 08, 2022 at

10:00 AM before the Honorable Derek T. Gilliland. The Zoom link will be sent via email.

             17th day of June, 2022.




                                                  Derek T. Gilliland
                                                  UNITED STATES MAGISTRATE JUDGE
